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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    PEGGY SASSO, CA Bar #228906
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
6    Attorney for Defendant
     LOUIE LONGORIA
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. 1:06-cr-0268 AWI
                                           )
12                     Plaintiff,          )             STIPULATION CONTINUING SENTENCING;
                                           )             ORDER
13         v.                              )
                                           )             Date: December 20, 2010
14   LOUIE LONGORIA,                       )             Time: 9:00 a.m.
                                           )             Judge: Hon. Anthony W. Ishii
15                     Defendant.          )
                                           )
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties through their respective counsel,
18   Assistant United States Attorney Kevin P. Rooney, Counsel for Plaintiff, and Assistant Federal Defender
19   Peggy Sasso, Counsel for Defendant Louie Longoria, that the sentencing currently set for December 13,
20   2010, may be continued to December 20, 2010, at 9:00 a.m.
21          Probation has represented that defense counsel will receive the Dispositional Memorandum in this
22   matter on December 8, 2010. The continuance is requested by defense counsel to allow counsel time to
23   review the Dispositional Memorandum with Defendant. The requested continuance will conserve time
24   and resources for both counsel and the court.
25          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
26   justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
27   3161(h)(7)(B)(i) and (iv).
28   ///
              Case 1:06-cr-00268-AWI Document 74 Filed 12/09/10 Page 2 of 2


1                                                 BENJAMIN B. WAGNER
                                                  United States Attorney
2
3
4    DATED: December 8, 2010               By:     /s/ Kevin P. Rooney
                                                  KEVIN P. ROONEY
5                                                 Assistant United States Attorney
                                                  Attorney for Plaintiff
6
7
8                                                 DANIEL J. BRODERICK
                                                  Federal Defender
9
10   DATED: December 8, 2010               By:    /s/ Peggy Sasso
                                                  PEGGY SASSO
11                                                Assistant Federal Defender
                                                  Attorney for Defendant
12                                                LOUIE LONGORIA
13
14
15
16
17                                               ORDER
18
     IT IS SO ORDERED.
19
20   Dated:         December 9, 2010
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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     LONGORIA: Stipulation Continuing Sentencing;
     Order                                        -2-
